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 4
     Attorney for MICHAEL ROMANO
 5

 6                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
     THE UNITED STATES OF AMERICA,                 ) No. 15-190 MCE
 8
                     Plaintiff,                    )
 9                                                 ) STIPULATION AND
            v.                                     ) ORDER TO ALLOW TRIP TO RENO, NV
10                                                 ) TO DIVEST FIREARMS
                                                   )
11
     MICHAEL ROMANO,                               ) Date:
12
                                                   ) Time:
                     Defendant.                    ) Judge: Hon. Magistrate Kendall J. Newman
13   ================================)
14
            Defendant Michael Romano owned three firearms before his arrest in case 15-190 GEB.
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16
     After his arrest, he transferred the firearms to another person to comply with his conditions of pre-

17   trial release. Mr. Romano now wishes to permanently divest himself of the firearms by selling them

18   to a licensed firearms dealer, Cabela’s, near Reno, Nevada (the closest Cabela’s retailer to Mr.
19
     Romano’s home).
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            The government and the defense hereby stipulate that (1) Mr. Romano may take possession
21
     of the three firearms for a period of two days and (2) that Mr. Romano may travel to the Cabela’s
22

23   store near Reno, Nevada, for the purpose of selling the three firearms to Cabela’s. Upon his return

24   home, Mr. Romano will provide documentary proof to his pre-trial services officer that he sold the
25
     firearms to Cabela’s.
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     ///
27
     ///
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 1
     Dated: February 15, 2018                               Respectfully submitted,
 2

 3                                                          /s/ Michael D. Long
                                                            MICHAEL D. LONG
 4                                                          Attorney for Michael Romano
 5

 6   Dated: February 15, 2018                               McGREGOR SCOTT
                                                            United States Attorney
 7
                                                            /s/ Audrey Hemesath
 8
                                                            AUDREY HEMESATH
 9                                                          Assistant U.S. Attorney
10                                          ORDER
11
            GOOD CAUSE APPEARING AND HAVING BEEN SHOWN, IT IS SO ORDERED.
12
            The Court hereby orders as follows:
13

14          (1) Defendant Michael Romano may take possession of the three firearms for a period of

15
     two days and (2) that Mr. Romano may travel to the Cabela’s store near Reno, Nevada, for the
     purpose of selling the three firearms to Cabela’s. Upon his return home, Mr. Romano will provide
16
     documentary proof to his pre-trial services officer that he sold the firearms to Cabela’s.
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18   Dated: February 16, 2018
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